
Per Curiam.
Respondent was admitted to practice by this Court in 2007. He maintains a business address in Seoul, South Korea.
Respondent has failed to comply with a subpoena duces tecum which directed him to appear on March 1, 2013 for an examination under oath by petitioner and to produce records relevant to petitioner’s investigation of an inquiry against him. Respondent has further failed to reply to petitioner’s instant motion to suspend him from the practice of law, pending his full compliance with the subpoena (see 22 NYCRR 806.4 [b]). Under the circumstances, we grant petitioner’s motion, effective 20 days from the date of this decision, pending respondent’s full compliance with the subpoena and until further order of this Court (see e.g. Matter of Anderson, 77 AD3d 1277 [2010]; Matter of McCormick, 75 AD3d 1049 [2010]).
